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 Attorneys for Defendant Colliers International
 ______________________________________________________________________________

                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


  KATE GRANT, and KARMANN KASTEN,
  LLC,                                                   RESPONSE TO MOTION TO
                                                        WITHDRAW AS COUNSEL FOR
       Plaintiffs,                                       DEFENDANT MILLCREEK
                                                       COMMERCIAL PROPERTIES, LLC
  v.

  KEVIN LONG; MILLCREEK                                  Case No. 2:23-cv-00936-AMA-CMR
  COMMERCIAL PROPERTIES, LLC;
  COLLIERS INTERNATIONAL; BRENT                              Judge Ann Marie McIff Allen
  SMITH; SPENCER TAYLOR; BLAKE
  MCDOUGAL; and MARY STREET,                             Magistrate Judge Cecilia M. Romero

       Defendants.


          Defendant Colliers International, through its counsel of record, hereby responds to the

 Motion to Withdraw as Counsel for Defendant Millcreek Commercial Properties, LLC

 (“Millcreek”) that was filed by its counsel of record, Parr Brown Gee & Loveless. The sole

 purported reason given for the withdrawal request is that “Millcreek has ceased operations.”
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 Even if true, companies that are no longer operating can still be, and often are, still represented in

 litigation. See, Utah Code 48-3a-701 - 711 (rules governing winding up a limited liability

 companies, including obligations to discharge debts and liabilities); Tracy-Burke v. Dept. of

 Employment Security, 699 P.2d 687 (Utah 1985) (an entity “in matters in court can act only

 through licensed attorneys”).

        The Complaint in this action alleges that Millcreek and its principal, defendant Kevin

 Long, played key roles in the alleged wrongful conduct. The Motion to withdraw leaves too

 many unanswered questions, including:

        1.      Is Millcreek going to hire new counsel to replace Parr Brown? If so, such counsel

                should substitute in now before allowing Parr Brown to withdraw to avoid case

                delays.

        2.      What and where are Millcreek’s assets?

        3.      What persons or entities are the successors to Millcreek?

        Millcreek is not a dissolved entity. See 1/29/25 printouts from the Utah Division of

 Corporations, (Exhibit A hereto), showing Millcreek’s status as “Current,” and listing KGL Real

 Estate Development, LLC (“KGL Real Estate”) as one of its members. Defendant Kevin Long is

 the registered agent and sole member of KGL Real Estate. (Exhibit B hereto). Kevin Long is

 also the registered agent of his related entity KGL Advisors, LLC (“KGL Advisors”) (Exhibit C

 hereto). Defendant Long is also the Manager and registered agent of another entity related to this

 matter, Millrock Investment Fund 1 Management, LLC (“Millrock”) (Exhibit D hereto).

        In the case of Klair et al v. Kevin Long, et al., D. Utah Case No. 2:23-cv-00407-AMA-

 CMR, the plaintiffs’ proposed First Amended Complaint seeks to add KGL Real Estate and KGL

 Advisors as additional defendants, alleging alter ego and successor liability:
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        72. On information and belief, and based on the fact that in about late 2024
        Millcreek Commercial indicated that it was closing but that KGL Advisors would
        assist Millcreek Commercial’s former clients and that KGL Advisor’s website
        adopted and incorporated large portions of Millcreek Commercial’s website, KGL
        Advisors is an alter ego of Millcreek Commercial, continuing substantially similar
        operations and activities with substantially similar personnel, and should be held
        jointly and severally liable for any judgment against Millcreek Commercial in this
        case.

        Similarly, in the case of Devlin et al v. Colliers, et al., D. Idaho Case No. 1:24-cv-00457-

 DCN, the plaintiffs’ First Amended Complaint names KGL Advisors, LLC as an additional

 defendant, and alleges:

        13. As of December 3, 2024, Millcreek Commercial’s website
        millcreekcommercial.com states: “Millcreek Commercial has ceased operations.
        Our friends at KGL Advisors have agreed to assist Millcreek Commercial clients.
        The Millcreek agents that moved to KGL Advisors can assist you with Tenant in
        Common Investments from that brokerage.” Plaintiffs are informed and believe,
        and on that basis allege, that KGL Advisors LLC is a new entity taking over
        operations of Millcreek Commercial with the same employees and agents. KGL
        Advisors was created to obscure the assets of Millcreek Commercial from
        pending lawsuits, while continuing substantially similar operations. KGL
        Advisors’ website includes the same blog posts that were previously on the
        Millcreek Commercial website, including one dated April 30, 2019 announcing a
        marketing alliance with Elevated 1031 Exchange, even though KGL Advisors was
        not created or registered until November 11, 2024 as set forth on the Utah
        Secretary of State website. Plaintiffs are informed and believe, and on that basis
        allege, that KGL Advisors is an alter ego of Millcreek Commercial such that it
        must be held liable for jointly and severally for Millcreek Commercial’s
        wrongdoing.

        14. On December 7, 2024, Kevin Long informed certain Plaintiffs of Millcreek
        Commercial’s closured. He represented: “I am sorry to inform you and the owners
        of the Draper Surgery Center that Millcreek Commercial Properties, LLC, is
        currently insolvent and the difficult decision has been made to close down the
        business and dissolve the entity. Millcreek was the marketing arm of an
        investment fund and when that fund decided to stop developing and marketing
        real estate products due to various market evolutions, the viability of Millcreek's
        business was decimated. We tried to continue on the business for the last few
        months but it has become apparent that there is not a path forward to solvency.
        Millcreek Commercial has no liquid assets and limited creditors outside their real
        estate lease obligation. The entity will be formally dissolved as of December 31,
        2024. We do not anticipate any revenue for distribution.”
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        If Millcreek’s assets and/or operations have been taken over by one of Defendant Long’s

 other entities, such as KGL Real Estate, KGL Advisors, and/or Millrock, then instead of

 Millcreek having its counsel withdraw in this matter, perhaps those entities should be ordered

 joined to this action as additional defendants under Fed. R. Civ. Pro. 19, 20, and/or 25 if they

 aren’t already defendants.

        Perhaps at the February 19th, 2025, Hearing on the Motion these questions can be

 addressed.

        DATED this 31st day of January, 2025.

                                                    DENTONS DURHAM JONES PINEGAR P.C.

                                                    /s/ James D. Gilson______________________
                                                    James D. Gilson
                                                    Andrew Wright
                                                    David B. Nielson
                                                    Attorneys for Defendant Colliers International
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 31st day of January 2025, I caused a true and correct copy of

 the RESPONSE TO MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANT

 MILLCREEK COMMERCIAL PROPERTIES, LLC to be filed via the Court’s electronic

 filing system, which automatically provides notice to counsel of record.



                                                     _____/s/ James D. Gilson________
